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                     IN THE UNITED STATES DISTRICT COURT                       "11~ ocT 10        r 1 3: 02
                    FOR THE WESTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA                                    INDICTMENT

              V.                                 Case No.     J<g - CfZ. - !3'? -   A)ML
                                                            18 u.s.c. § 1951
JOHNELL L. BRITT and                                        18 U.S.C. § 924(c)(l)
LAMONTAY D. RIVERA,

                           Defendants.



THE GRAND JURY CHARGES:

                                         COUNTl

       1.     At times material to this indictment, the Subway restaurant, 4692 Cottage

Grove Road, Madison, Wisconsin, was a business located in the Western District of

Wisconsin, which engaged in interstate commerce and obtained inventory and products

originating outside the State of Wisconsin.

       2.     On or about August 20, 2018, in the Western District of Wisconsin, the

defendants,

               JOHNELL L. BRITT and LAMONTAYD. RIVERA,

knowingly obstructed, delayed, and affected interstate commerce and the movement of

articles and commodities in interstate commerce, by robbery as that term is defined in

Title 18, United States Code, Section 1951, in that the defendants unlawfully took and

obtained property, namely cash, of the Subway restaurant, in the presence of

employees and against their will by means of actual and threatened force, violence, and
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fear of immediate injury to their persons, that is, the defendants brandished firearms at

the employees and demanded money from them.

       (In violation of Title 18, United States Code, Section 1951.)

                                         COUNT2

       On or about August 20, 2018, in the Western District of Wisconsin, the

defendants,

                   JOHNELL L. BRITT and LAMONTAYD. RIVERA,

knowingly and unlawfully brandished firearms, during and in relation to a crime of

violence for which they may be prosecuted in a court of the United States, specifically,

the robbery of the Subway restaurant, 4692 Cottage Grove Road, Madison, Wisconsin, in

violation of 18 U.S.C. § 1951, as alleged in Count 1 of this indictment.

       (In violation of Title 18, United States Code, Section 924(c)(l).)

                                           A TRUE BILL


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                                           Indictment returned:     /DI   /;o/1 I


SCOTT C. BLADER
United States Attorney




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